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                                 UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF PUERTO RICO

  IN RE:

       CARLOS MANUEL DAVILA MEDINA                           CASE NO. 13-07818-ESL
       MARIA ISABEL FUENTES ORTIZ

       XXX-XX-4721                                           CHAPTER 13
       XXX-XX-9269

       DEBTOR (S)


                                TRUSTEE'S REQUEST ENTRY OF ORDER



TO THE HONORABLE COURT:

            Comes now Jose R. Carrion, Chapter 13 Trustee and respectfully states

and prays:

       1.     Debtors(s)       confirmed    plan   dated     Nov   12,    2013   provides   that     any

post-petition tax refund that the debtor(s) would be entitled to receive during

the term of the plan would be used to fund the plan. (Please refer to other

provisions in the plan docket no. 13)

       2.     As   of   this    date   no   tax    refunds    have   been    received   for    year(s)

2014,2015 and 2016.

       3.     A Chapter 13 debtor’s tax refunds are generally considered projected
disposable income that should fund the plan. See In re Michaud, 399 B.R. 365,
372-73 (Bankr.D.N.H. 2008); In re Padilla, 2009 Bankr. LEXIS 2701, *9-*10 (“The
tax refund becomes income when received and in the amount received. The amount
must be paid into the plan shortly after receipt.”);                       see also, In re Ricci,
2009   Bankr.      LEXIS   3283,    *42-*43    (Bankr.M.D.Fla.       2009)(holding      that   for    a
Chapter 7 Means Test’s determination of possible abuse, the tax refunds must be
considered disposable income). Only unforeseen, reasonably necessary expenses
may amend a debtor’s obligation to pay a tax refund to fund the plan.                                See
Michaud, 399 B.R. at 372.
       4.     It is clearly established, that a confirmed Chapter 13 Plan binds
debtors and creditors to compliance with the plan’s provisions, pursuant to the
doctrine of res judicata. See In re Burrell, 346 B.R. 561 (1st Cir. B.A.P.
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2006); In re Eason, 178 B.R. 908 (Bankr.M.D.Ga. 1994).
      5.   Debtor(s)     failure    to   pay   the   tax   refunds,   constitutes   a    material
default with respect to the terms of the confirmed/approved plan.
      6.   Moreover, pursuant to the provisions of Section 1306, the tax refunds
in question are part of the chapter 13 bankruptcy estate.


      WHEREFORE, it is respectfully requested from this Honorable Court to take
notice of the above mentioned and ORDER Debtor to tender to the Trustee the tax
refund received as per the terms of the Confirmed plan.


RESPECTFULLY SUBMITTED
                                                     NOTICE

     14 day notice: Within fourteen (14) days after service as evidenced by the
certification, and an additional three (3) days pursuant to Fed. R. Bank. P.
9006(f) if you were served by mail, any party against whom this paper has been
served, or any other party to the action who objects to the relief sought
herein, shall serve and file an objection or other appropriate response to this
paper with the Clerk's office of the U.S. Bankruptcy Court for the District of
Puerto Rico. If no objection or other response is filed within the time allowed
herein, the paper will be deemed unopposed and may be granted unless: (i) the
requested relief is forbidden by law; (ii) the requested relief is against
public policy; or (iii) in the opinion of the Court, the interest of justice
requires otherwise.


      CERTIFICATE   OF   SERVICE:    I    hereby     certify   that   on   this   same   date   I

electronically filed the above document with the Clerk of the Court using the

CM/ECF System which sent a notification TO all CM/ECF participants, including

Debtor’s attorney and I further certify that I have mailed this document by

First Class Mail postage prepaid to debtor, at his mailing address of record.

      In San Juan, Puerto Rico on Thursday, January 25, 2018.

                                                 /s/ Jose R. Carrion

                                                 JOSE R. CARRION
                                                 CHAPTER 13 TRUSTEE
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EAG
